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PRIVATE
MEDIA GROUP, INC,

Sale of Copyright and Common Law Copyright Rights

Whereas, Milcap Media Limited, Miicap Publishing Group, a corporation organized under the laws of
Cyprus, located and doing business at Office 1002, 10" Floor, Nicolaou Pentadromos Centre,
Thessalonikis Street, 3025 Limassol, Cyprus and Private USA {collectively the “Seller”), is the owner of
the following U.S. Copyrights, listed below, are registered in the United States (collectively the
“Capyrights"):

Whereas, FraserSide IP LLC (Buyer), a Limited Liability Company organized under the laws of the State of
lowa, doing business at 837 Centra! Avenue, Northwood, lowa; and

Whereas Seller desires to transfer and FraserSide IP LLC desires to acquire all of Assignor’s rights In and
to the United States Copyrights, common law copyrights and the goodwill symbolized thereby;

NOW THEREFORE, for good and valuable consideration, the recelpt and sufficiency of which are hereby
acknowledged, Seller hereby sells, assigns, transfers and conveys to Buyer all of Its right, title, and
interest In and to the Copyrights, together with the goodwill of the business associated with the
Copyrights, the same to be held and enjoyed by Buyer, Its successors, assigns, and other legal
representatives,

Seller further conveys to Buyer all right to sue for and receive all damages accruing from past
infringements of the Copyrights herein assigned.

Seller represents (t is the legal owner of all right, title and interest in and to the Copyrights and has the
right to sell the Copyrights and that there are no pending legal proceedings impairing the transferability
of the Copyrights.

These Assignments shall be binding upon the parties, thelr successors and/or assigns, and all others
acting by, through, with or under their direction, and all those in privity therewith.

The parties agree to take any further action and execute any documents required to effect the purposes
of this Assignment,

Milcap Media Limited FraserSide iP LLC
Milcap Publishing Group
Privage USA

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Dated: 12/08/2010 Dated: 12/08/2010

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TITLE

AMANDA'S DIARY 4
AMANDA'S DIARY 5

BLONDES ON FIRE {PRIVATE SPECIAL EDITION 18)

CALL GIRL
CUM SHOT DELUXE NO 2

DANGEROUS THINGS - PRIVATE/PENTHOUSE MOVIE 3
DANGEROUS THINGS 2 - PRIVATE/PENTHOUSE MOVIE 4

DOMESTIC AFFAIRS
DOUBLE CONFUSION

FASHION - PRIVATE/PENTHOUSE MOVIES 2

FETISH THERAPY
GAIAS
GAIA6

HELL, WHORES AND HIGH HEELS (PRIVATE VIDEO

DELUXE 10)
HORNY HOUSEWIVES 4

HORNY HOUSEWIVES 2

HORNY HOUSEWIVES 3

HORNY HGUSEWIVES 4

HORNY HOUSEWIVES 6

HORNY HOUSEWIVES 7

HORNY HOUSEWIVES 8

HORNY HOUSEWIVES 9

HOUSE OF LOVE - PRIVATE GOLD 40
MATADOR

MATADOR 2

MATADOR 3

MATADOR 4

MATADOR 5 - SEX TRIP

MATADOR 6 - DIRTY MEN AT WORK
MATADOR 7

MY FIRST TIME

NIKKI ANDERSSON THE STORY
PEEPSHOW SPECIAL 1

PEEPSHOW SPECIAL 10

PEEPSHOW SPECIAL 2

PEEPSHOW SPECIAL 3

PEEPSHOW SPECIAL 4

PEEPSHOW SPECIAL S

PEEPSHOW SPECIAL 6

PEEPSHOW SPECIAL 7

PEEPSHOW SPECIAL 8

PEEPSHOW SPECIAL 9

PIRATE VIDEO DELUXE 14

PIRATE VIDEO DELUXE 7 - TANYA HYDE'S LONDON CALLING

PIRATE VIDEO DELUXE 8
PRIVATE BLACK LABEL 10

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PA0001003424
PA0000776233
PA0001044971
PA0001044965

PAQO01001580
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PAQ000984660
PAQOO0g84579
PAQOO0S90706
PA0OD1003423
PAQO01001521
PAO001020246
PAQO00990722
PAQOON9&4665
PAQOOOSB4575
PA0000990723
PAQ0O0990707
PA0001003434
PA0001001603
PA0001020244
PA0000956744
PAQ000956746
PA0000955893
PAQ001009999
PAOo0GS48425
PAO000956745
PAQGGO776118
PA0000984658
PA0000984592
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PRIVATE BLACK LABEL 11
PRIVATE BLACK LABEL 12 — JULIA
PRIVATE BLACK LABEL 13 - VIRTUAL SEX
PRIVATE BLACK LABEL 14 ~ ERICA
PRIVATE BLACK LABEL 9 - SEX SHOT
PRIVATE CASTINGS 21

PRIVATE GEOGRAPHIC

PRIVATE GOLD 32 - LETAL INFORMATION
PRIVATE GOLD 38 - NETWORK -
PRIVATE GOLD 41 — MADNESS

PRIVATE GOLD 42 - MADNESS 2

PRIVATE GOLD 43 - NO SUN, NO FUN
PRIVATE GOLD 44 ~ RIVIERA

PRIVATE SPECIAL EDITION 19 - PRIVATE BACKSTAGE
PRIVATE SPECIAL EDITION 21

RUBBER KISS

SEX SLIDER - PRIVATE MOVIES 1

SEX THERAPY

SEX THERAPY 2

SOLID GOLD 1

SOLID GOLD 2

START YOUR ENGINES (PRIVATE SPECIAL EDITION 20)
STORY NO 2 - TANIA RUSSOF

SUPER FUCKERS 1

SUPER FUCKERS 2

SUPER FUCKERS 3

SUPER FUCKERS 4

SUPER FUCKERS 5

SUPER FUCKERS SPECIAL EDITION
TANYA HYDE'S TWISTED DREAMS

THE BRIDE WORE BLACK (PRIVATE VIDEQ DELUXE 9)
THE GIGOLO

URANUS EXPERIMENT 2

URANUS EXPERIMENT 3

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GAIA 1 - LES OBSTACLES DE L'AMOUR
GAIA 2 - IRRESISTIBLE SILVIE

GAIA 3 - WEEKEND IN BOLOGNA
PRIVATE BIG PACK 1

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PA0001001582
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PAQ0G0990711
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PAQ001044972
PAQOgg9s4661
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PA0001003430
PA0CO1001585
PAQ001020247
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PAQ000990730
PA00G0984581
PA0001003431

PAO000956742
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PAQGOO948440
PA0001009998
PA0000948432
PAGO00956748
PAQO00776171
PA0DOG984664
PAQ000984596
PA0000990720
PAQQ00990708
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PRIVATE BIG PACK 2

PRIVATE GOLD 5 - CAPE TOWN
PRIVATE GOLD 6 - CAPE TOWN 2
PRIVATE STORIES 10

PRIVATE STORIES 11.

PRIVATE STORIES 12

PRIVATE STORIES 13

PRIVATE STORIES 14

PRIVATE STORIES 15

PRIVATE STORIES 16

PRIVATE STORIES 37

PRIVATE STORIES 18

PRIVATE STORIES 19

PRIVATE STORIES 20

PRIVATE STORIES 21

PRIVATE STORIES 22

PRIVATE STORIES 23

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PRIVATE STORIES 25

PRIVATE STORIES 7

PRIVATE STORIES 8

PRIVATE STORIES 9

A STUDY IN SEX (PRIVATE GOLD 1)
APOCALYPSE CUMAX (PRIVATE FILM 25}

APOCALYPSE CLIMAX 2 - THE FINAL ECSTASY

ARROWHEAD

GIGOLO 2

GIGOLO, THE (PRIVATE FILM 27}
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PRIVATE GOLD 3 - THE CHASE
PRIVATE GOLD 4 - AMAZONAS
PRIVATE STORIES 4

PRIVATE VIDEO MAGAZINE 22
PRIVATE VIDEO MAGAZINE 23
PRIVATE VIDEO MAGAZINE 24
PRIVATE VIDEO MAGAZINE 26
SAMBA THE BRAZILIAN CONNECTION
TOWER 3

TRIPLE X NO, 1

TRIPLE X NO. 2

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PAQO00926228
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PAD000R97066
PA0O00897217
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PA0000897076
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With my signature affixed below, I, Jason Tucker, au authorized representative of Fraserside
IP LLC, declare under penalty of perjury that this information and accompanying documents
are a true and correct copy of the original document.

LG be

Jason Simon Tucker

Email: JTucker@ private.com

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